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U.S. v. Rolando Jose Sierra-Velazquez, 18-603 (ADC)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

Plaintiff,
yi

[2] Rolando Jose Sierra- Velazquez,
Defendant.

 

 

PLEA AGREEMENT Pe

TO THE HONORABLE COURT:

CRIMINAL NO. 18-603 (ADC)

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& US DISTRICT COURT .” ¢
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The United States of America, Defendant, [2] Rolando Jose Sierra-Velazquez,

and Defendant’s counsel, Diego H. Alcala-Laboy, Esq., pursuant to Federal Rule of

Criminal Procedure 11, state that they have reached a Plea Agreement, the terms and

conditions of which are as follows:

1. Charges to which Defendant will Plead Guilty

COUNT ONE: Beginning on a date unknown, but no later than in or about the

year 2012, and continuing up to the year 2016, in the District of Puerto Rico

and within the jurisdiction of this Court, [2] Rolando Jose Sierra-Velazquez and

yy Frreodefendant did knowingly and intentionally, combine, conspire, and agree

 

and with diverse other persons known and unknown to the

yi Grand Jury, to commit an offense against the United States, that is, to

knowingly and intentionally possess with intent to distribute controlled

substances, to wit: five (5) kilograms or more of a mixture or substance

containing a detectable amount of cocaine, a Schedule II Controlled Substance,

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one hundred (100) kilograms or more of a mixture or substance containing a

detectable amount of marihuana, a Schedule I Controlled Substance, in

violation of Title 21, United States Code, Section 841(a)(1) &(b)(1(A) and 846.

2. Stipulation as to the Amount of Narcotics

The United States and the defendant stipulate and agree that the defendant shall
be held accountable for at least four hundred (400) grams, but less than five hundred
(500), grams of cocaine. The defendant acknowledges that he understands that the
Court is not required to accept the parties’ stipulation regarding the applicable drug
weight.

3. Maximum Penalties

Count One: The maximum statutory penalty for the offense charged in Count
One of the Indictment is a term of imprisonment of at least ten (10) years, but not
more than life, and a term of supervised release of at least five (5) years. The Court
may also impose a fine not to exceed the greater of that authorized in accordance
with the provisions of Title 18, United States Code, or $10,000,000.00. The Court must
impose a mandatory penalty assessment of $100.00. The defendant agrees that any
fine or restitution imposed by the Court will be due and payable immediately. The
defendant cannot be placed on probation, nor have the imposition or execution of the
sentence suspended.

However, for purposes of this plea agreement the maximum statutory penalty
for the offense charged in Count One of the Indictment, based on the defendant’s guilty

plea to a lesser included drug weight, is a maximum term of twenty (20) years of

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imprisonment; a fine not to exceed one million dollars ($1,000,000); and a term of
supervised release of at least three (3) years, in addition to any term of incarceration,
pursuant to Title 21, United States Code, Section 841(b)(1)(C).
4. Sentencing Guidelines Applicability
Defendant understands that the sentence will be imposed by the Court in
accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”’), which are advisory pursuant to the United States Supreme
Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant
acknowledges that parole has been abolished, and that the imposition of Defendant’s
sentence may not be suspended.
5. Special Monetary Assessment
yy Defendant agrees to pay a special monetary assessment (“SMA”) of one
hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the
Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).
6. Fines and Restitution
The Court may, pursuant to Section 5E1.2 of the Guidelines order Defendant
to pay a fine. The Court may also impose restitution. Defendant agrees to execute
and make available, prior to sentencing, a standardized financial statement (OBD
Form 500). The United States will advocate on behalf of any identified victim and

comply with its obligations under the Mandatory Victim Restitution Act of 1996.

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7. Sentence to be Determined by the Court
Defendant understands that the sentence to be imposed will be determined
solely by the United States District Judge. The United States cannot make and has not
made any promise or representation as to what sentence Defendant will receive. Any
discussions that the parties might have had about possible sentences are not binding in
any way on the Court, and do not constitute representations about what the parties
will seek, or what the actual sentence will be.
8. Recommended Sentencing Guidelines Calculations
After due consideration of the relevant factors enumerated in 18 U.S.C. §
3553(a), the United States and Defendant submit that the advisory Guidelines
calculations listed below apply to Defendant. However, Defendant acknowledges

that the Court is not required to accept those recommended Guidelines calculations.

 

SENTENCING GUIDELINES CALCULATIONS
COUNT ONE
21 U.S.C. § 846

 

 

 

 

 

 

Base Offense Level pursuant to U.S.S.G. § 2D.1 29

Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1 3

TOTAL ADJUSTED OFFENSE LEVEL 19

CH Cat. I | CH Cat. II | CH Cat. TI} CH Cat.IV | CH Cat. V |) CH Cat. VI
30-37 33-41 37-46 46-57 57-71 63-78

 

 

 

 

 

 

 

 

9. Sentence Recommendation
As to Count One, and after due consideration of the relevant factors enumerated

in 18 U.S.C. § 3553(a), the parties agree that the parties will request a sentence of

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imprisonment of thirty-seven (37) months, irrespective of the defendant’s criminal
history category. The parties further agree that the federal crime in case number 16-
737 (JAG) is relevant conduct to the current case, and that the sentence in this case
shall be served consecutive to the sentence in 16-737 (JAG).

The parties agree that any recommendation by either party for a term of
imprisonment below or above the stipulated sentence recommendation will constitute
a material breach of the Plea Agreement.

10.No Stipulation as to Criminal History Category
The parties do not stipulate as to any Criminal History Category for Defendant.
11. Waiver of Appeal

Defendant knowingly and voluntarily agrees that, if the imprisonment sentence
imposed by the Court is thirty-seven (37) months or less, Defendant waives the right
to appeal any aspect of this case’s judgment and sentence, including, but not limited
to the term of imprisonment or probation, restitution, fines, forfeiture, and the term
and conditions of supervised release.

12.No Further Adjustments or Departures

The United States and Defendant agree that no further adjustments or
departures to Defendant’s total adjusted base offense level and no variant sentence
under 18 U.S.C. §3553—other than any explicitly provided for in this Plea
Agreement—shall be sought by Defendant. The parties agree that any request by

Defendant for an adjustment or departure that is not explicitly provided for in this Plea

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Agreement will be considered a material breach of this Plea Agreement, and the
United States will be free to ask for any sentence, either guideline or statutory.
13. Satisfaction with Counsel
Defendant is satisfied with counsel, Diego H. Alcala-Laboy, Esq., and asserts
that counsel has rendered effective legal assistance.
14.Rights Surrendered by Defendant Through Guilty Plea
Defendant understands that by entering into this Plea Agreement, Defendant
surrenders and waives certain rights as detailed in this agreement. Defendant
understands that the rights of criminal defendants include the following:

a. If Defendant had persisted in a plea of not guilty to the charges,
Defendant would have had the right to a speedy jury trial with the
assistance of counsel. The trial may be conducted by a judge sitting
without a jury if Defendant, the United States, and the judge agree.

b. If a jury trial is conducted, the jury would be composed of twelve lay
persons selected atrandom. Defendant and Defendant’s attorney would
assist in selecting the jurors by removing prospective jurors for cause
where actual bias or other disqualification is shown, or by removing
prospective jurors without cause by exercising peremptory challenges.
The jury would have to agree, unanimously, before it could return a
verdict of either guilty or not guilty. The jury would be instructed that
Defendant is presumed innocent, that it could not convict Defendant
unless, after hearing all the evidence, it was persuaded of Defendant’s
guilt beyond a reasonable doubt, and that it was to consider each charge
separately.

c. Ifatrial is held by the judge without a jury, the judge would find the facts
and, after hearing all the evidence and considering each count separately,
determine whether or not the evidence established Defendant’s guilt
beyond a reasonable doubt.

d. At a trial, the United States would be required to present its witnesses
and other evidence against Defendant. Defendant would be able to
confront those witnesses and Defendant’s attorney would be able to

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cross-examine them. In turn, Defendant could present witnesses and
other evidence on Defendant’s own behalf. If the witnesses for Defendant
would not appear voluntarily, Defendant could require their attendance
through the subpoena power of the Court.
e. Atatrial, Defendant could rely on the privilege against self-incrimination
to decline to testify, and no inference of guilt could be drawn from
Defendant’s refusal to testify. If Defendant desired to do so, Defendant
could testify on Defendant’s own behalf.
15.Stipulation of Facts
The accompanying Stipulation of Facts signed by Defendant is hereby
incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and
agrees that the facts therein are accurate in every respect. Defendant agrees and accepts
that had the matter proceeded to trial, the United States would have proven those facts
beyond a reasonable doubt.
16.Limitations of Plea Agreement
This Plea Agreement binds only the United States Attorney’s Office for the
District of Puerto Rico and Defendant. It does not bind any other federal district,
state, or local authorities.
17.Entirety of Plea Agreement
This written agreement constitutes the complete Plea Agreement between the
United States, Defendant, and Defendant’s counsel. The United States has made no

promises or representations except as set forth in writing in this Plea Agreement and

denies the existence of any other terms and conditions not stated herein.

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18.Amendments to Plea Agreement
No other promises, terms or conditions will be entered into between the parties
unless they are in writing and signed by all parties.
19. Dismissal of Remaining Counts
At sentencing should there be any pending counts and should the Defendant
comply with the terms of this Plea Agreement, the United States will move to dismiss
the remaining counts of the Indictment pending against Defendant in this case.
20. Voluntariness of Plea Agreement
Defendant acknowledges that no threats have been made against Defendant and
that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.
21.Breach and Waiver
Defendant agrees that defendant will have breached this Plea Agreement if,
after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill
completely each and every one of Defendant’s obligations under this Plea Agreement;
(b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw
Defendant’s guilty plea. In the event of such a breach, the United States will be free
from its obligation under this Plea Agreement and Defendant will not have the right
to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in
breach of the Plea Agreement, Defendant is deemed to have waived any objection to
the reinstatement of any charges under the Indictment, Information, or complaint

which may have previously been dismissed or which may have not been previously

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prosecuted.

20.Potential Impact on Immigration Status

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Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), Defendant hereby

agrees and recognizes that if convicted, a Defendant who is not a United States citizen

may be removed from the United States, denied citizenship, and denied admission to

the United States in the future.

21.Felony Conviction

Defendant hereby agrees and recognizes that the plea of guilty in this case will

be recognized as a felony conviction, which will result in the loss of certain rights,

including but not limited to the right to vote in a federal election, to serve as a juror,

to hold public office, and to lawfully possess a firearm.

W. STEPHEN MULDROW

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Max Petex- 4
Assistant United States Attorney, Chief
Transnational Organized Crime Section

Dated: WALZ
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Vanes¥a E-Bonhomme
Assistant United States Attorney, Deputy Chief
Transnational Organized Crime Section

  
   
 

 

 

Dated: 4 LAI
John P. Hutchins I

Assistant United States Attorney
Transnational Organized Crime Section

Dated: __ 9/29/22

 

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J DieGo H. Alcala-Laboy, Esq.
Counsel for Defendant
Dated: 2 LLY

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Rolando Jose Sierra-Velazque

Defendant
Dated : wh Ler!

 

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UNDERSTANDING OF RIGHTS

I have consulted with counsel and fully understand all of my rights as to the
charges pending against me. Further, I have consulted with my attorney and fully
understand my rights as to the provisions of the Guidelines that may apply in my case.
I have read this Plea Agreement and carefully reviewed every part of it with my
attorney. My counsel has translated the Plea Agreement to me in the Spanish
language and I have no doubts as to the contents of the agreement. I fully understand

this agreement and voluntarily agree to it.

Date: ~¢yf2er!/ bbad S. Sele Yaberyegeccesy

Rolando Jose Sierfd- dNelazA 7auez
Defendant

I am the attorney for Defendant. I have fully explained Defendant’s rights to
Defendant with respect to the pending charges. Further, I have reviewed the applicable
provisions of the Guidelines and I have fully explained to Defendant the provisions of
those Guidelines that may apply in this case. I have carefully reviewed every part of
this Plea Agreement with Defendant. I have translated the Plea Agreement and
explained it in the Spanish language to the Defendant who has expressed having no
doubts as to the contents of the agreement. To my knowledge, Defendant is entering
into this Plea Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant’s plea of guilty.

Date: /“0/// LOL/

 

 

(g0 HL. Alcala-Laboy
Counsel for Defendant

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STIPULATION OF FACTS

In conjunction with the submission of the accompanying Plea Agreement in
this case, the Defendant Rolando Jose Sierra-Velazquez admits that Defendant is
guilty as charged in the Indictment and admits the following:

From 2012 to 2016, in Puerto Rico, Rolando Jose Sierra-Velazquez was a drug
distributor operating in Fajardo, Puerto Rico. The defendant would purchase on a
weekly basis cocaine and marijuana for resale and distribution. The defendant would
typically purchase 31 grams of cocaine and one pound of marijuana from individuals
known and unknown to the grand jury. The defendant would then repackage and sell
the cocaine and marijuana for significant profit. By entering this plea, the defendant
acknowledges that he did knowingly and intentionally possess with intent to distribute
four hundred to five hundred grams or more of a mixture of substances with contained
a detectable amount of cocaine, a Schedule II Controlled Substance.

The defendant by entering this plea acknowledges he did conspire to possess
between four hundred and five hundred grams of cocaine within the jurisdiction of
the United States.

Had this matter proceeded to trial, the United States would have presented
evidence through the testimony of witnesses as well as physical evidence and
documentary evidence, which would have proven beyond a reasonable doubt

Defendant’s guilt.

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At trial, the United States would have proven beyond a reasonable doubt that
defendant Rolando Jose Sierra-Velazquez is guilty as charged in Count One of the

Indictment. Discovery was timely made available to Defendant for review.

ohn P. Hutchins I] fego H. Alcala-Laboy, Esq.

Assistant U.S. Attorney Counsel for Defendant
Dated: 4 [ 24/ 202) Dated: _ Jo ZoLEYI

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Dated: co © LoL tf ed) aos

 

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